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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

 GERALD ROSS PIZZUTO, JR.,             )           CASE NO. 1:20-cv-114-DCN
                                       )
            Plaintiff,                 )           MEMORANDUM IN SUPPORT OF
 v.                                    )           MOTION FOR PRELIMINARY
                                       )           INJUNCTION OR TEMPORARY
 JOSH TEWALT, et al.,                  )           RESTRAINING ORDER
                                       )
            Defendants.                )           Execution Scheduled for June 2, 2021
 _____________________________________ )


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            For the reasons that follow, Plaintiff Gerald Ross Pizzuto, Jr. respectfully asks the Court to

enjoin or restrain Defendants from executing him until the claim he has presented in this case have

been resolved.

            “To prevail on a motion for a preliminary injunction,” Mr. Pizzuto “must show that: (1) he

is likely to succeed on the merits on his state or federal claims; (2) he is likely to suffer irreparable

harm in the absence of preliminary relief; (3) the balance of equities tips in his favor; and (4) a

preliminary injunction is in the public interest.” Cuviello v. City of Vallejo, 944 F.3d 816, 825 (9th

Cir. 2019). 1 The same test applies to motions for temporary restraining orders under Federal Rule

of Civil Procedure 65. See Stuhlbarg Int'l. Sales Co., Inc. v. John D. Brush and Co., Inc., 240 F.3d

832, 839 n.7 (9th Cir. 2001). Mr. Pizzuto can satisfy each factor. 2

    I.      Mr. Pizzuto is Likely to Succeed on the Merits.

            First, Mr. Pizzuto is likely to succeed on the merits of his claim: that the use of

pentobarbital at his execution violates his Eighth Amendment rights.

         A. Cruel and Unusual Punishment

            To begin, Mr. Pizzuto is likely to succeed on the merits of his claim, which alleges that the

State’s use of pentobarbital at his execution violates his Eighth Amendment rights, in large part

because of the danger of a torturous death caused by his unique medical situation. See Dkt. 52.

            To prevail on a claim of this type, the plaintiff “must show a feasible and readily

implemented alternative method of execution that would significantly reduce a substantial risk of



1
 In this pleading, unless otherwise noted, all internal quotation marks and citations are omitted,
and all emphasis is added.
2
    Every part of this memorandum is incorporated into every other part.

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severe pain and that the State has refused to adopt without a legitimate penological reason.”

Bucklew v. Precythe, 139 S. Ct. 1112, 1125 (2019). In other words, the inmate is required to

demonstrate 1) that the State’s chosen method exposes the prisoner to a substantial risk of severe

pain; and 2) that there is a feasible and readily implemented alternative that would not do so. Mr.

Pizzuto can establish a likelihood of success on both fronts.

          1. The Use of Unreliable, Compounded Pentobarbital Creates a Substantial Risk of
             Severe Pain.

          For the reasons that follow, the Idaho Department of Correction’s (“IDOC’s”) plan to use

compounded, unreliable pentobarbital creates a substantial risk of severe pain at his execution.

                  a) Mr. Pizzuto’s Health Concerns

          To begin, Mr. Pizzuto’s complex and serious medical situation makes pentobarbital an

unconstitutionally risky drug to use at his execution. 3

                    i.    Mr. Pizzuto’s Heart Condition

          The first problem with pentobarbital is that it will likely trigger an excruciating heart attack,

the effects of which Mr. Pizzuto will acutely experience before he is adequately sedated. Mr.

Pizzuto’s heart-based challenge is supported by a declaration from Dr. Michael Rich, who is board

certified in cardiovascular disease and echocardiography, and who is a Fellow in the American

College of Cardiology. See Ex. 1 at 1–2. 4 Dr. Rich is a cardiologist at St. Alphonsus Heart Institute

with a typical caseload each week of 80–100 patients; he deals with every type of cardiovascular

disease. See id. After reviewing Mr. Pizzuto’s medical records, Dr. Rich has opined that it is




3
  As discussed below, there are two health issues underlying the claim. Mr. Pizzuto submits that
if either or both issues fall short of the standard individually, they satisfy it in the aggregate.
4
    All exhibits to this memorandum are incorporated herein as if fully set forth.

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likely that he suffers from clinically significant obstructive coronary disease. See id. at 7. As a

result, it is Dr. Rich’s view that a pentobarbital execution would induce in Mr. Pizzuto a heart

attack, the pain of which he would endure before he was sedated. See id. at 7–8.

       These risks are highlighted by the troubling experiences other inmates with coronary artery

disease have had during pentobarbital executions. Eddie Powell and Roy Blankenship both

suffered from the condition. See id. at 8. Both were executed with pentobarbital. See Ex. 2 at 1;

Powell v. Thomas, 643 F.3d 1300, 1302 (11th Cir. 2011) (per curiam). And both executions

included unambiguous indications of pain and suffering by the inmate. See Ex. 2 at 1 (describing

grimaces, jerking, lunges from side to side, and yells); Ex. 3 at 3 (noting that the execution lasted

twenty-five minutes and that the inmate seemed to be in pain, with his eyes open and his jaw

clenched).

       In his declaration, Dr. Rich notes that he would be able to give a more conclusive statement

about these risks if he could perform on Mr. Pizzuto a nuclear stress test. See Ex. 1 at 9. Mr.

Pizzuto asserts that Dr. Rich’s current assessment is sufficient to justify a preliminary injunction.

However, to the extent the Court disagrees that the presumptive diagnosis is not enough, it is still

necessary to provide undersigned counsel the time to arrange for the testing, have it performed,

transmit the results to Dr. Rich for analysis, consult with Dr. Rich regarding his findings, and

incorporate them as necessary into new pleadings (including supplements to his declaration and to

this preliminary-injunction motion). The execution should be stayed for at least as long as it takes

for all of these tasks to be performed.

                 ii.   Mr. Pizzuto’s Medication History

       The second problem with pentobarbital is that it is likely to not work as intended on Mr.

Pizzuto as a result of his medication history. Mr. Pizzuto has a complex medical situation, having

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suffered from numerous illnesses over many years. Aside from the heart disease described above,

Mr. Pizzuto has been diagnosed with bladder cancer, type-2 diabetes, and chronic obstructive

pulmonary disease. See Ex. 4 at 1. 5 Due to this variety of ailments, Mr. Pizzuto has been

prescribed many medications. The issue before the Court involves two categories of medications:

gabapentin and opioids. Gabapentin (sometimes referred to in Mr. Pizzuto’s medical records by

the brand name Neurontin) has been administered to Mr. Pizzuto primarily to treat back pain. See,

e.g., id. at 3. The opioids have been prescribed for pain caused by different sources. Most

significantly, Mr. Pizzuto has taken an escalating amount of OxyCodone to treat pain related to

his bladder cancer, see Ex. 5 at 9—a condition he has had since at least 2016 (when the tumors

were partly removed, see Ex. 4 at 6) and that led him to be placed in hospice care on November

2019 with a six-month life expectancy, where he remains, see id. at 4. During the time he has been

on OxyCodone, Mr. Pizzuto’s dosage has been increased at least nine separate times and it is now

more than 100% higher than what it originally was. See Ex. 5 at 9. His current dosage—160

milligrams per day, see id. at 9—is an extraordinarily high one that reflects the gravity of his illness

and his proximity to a natural death. See id.; see also People v. Tseng, 30 Cal. App. 5th 117, 124

n.15 (Ct. App. Cal. 2018) (noting expert testimony that a dosage of 80 milligrams per day of

OxyContin was “an amount typically prescribed to a terminal cancer patient”); Ruben v. Ariz.

Med’l Bd., No. 1 CA-CV 18-0079, 2019 WL 471031, at *9 (Ariz. Ct. App. Feb. 7, 2019)

(“Prescribing opioids—such as OxyCodone—in high doses, above 80 mg per day, exponentially

increases the risk of accidental overdose death.”); State v. Greene, 983 N.E.2d 773, 776 (Ohio Ct.




5
 For every exhibit that was not consecutively paginated in the original, Mr. Pizzuto has added
page numbers in the lower-right corner, which is what he cites to.

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App. 2012) (referring to testimony from a lab technician at the state highway patrol “that the

maximum daily dosage of Oxycodone is 90 milligrams”). 6

       The problems with Mr. Pizzuto’s medication history vis-à-vis a pentobarbital execution are

described in detail in Dr. Sergio D. Bergese’s declaration. See Ex. 5. Dr. Bergese is board certified

in anesthesiology. See id. at 1. He is a clinical professor of anesthesiology at Stony Brook

University, and is the Senior Director of Neuroanesthesiology at that institution’s medical school.

See id. Dr. Bergese outlines in his declaration how Mr. Pizzuto’s extensive history of taking

gabapentin and various opioids have given rise to a tolerance that creates a substantial risk that the

pentobarbital will cause unintended consequences at an execution, “including a prolonged and

painful death process, awareness of the process of dying, an increased likelihood of seizures, and

the possibility of additional paradoxical reactions.” Id. at 10–11.

       These two problems with pentobarbital—the cardiological issues and the medication-

history issues—support preliminary relief in their own right. Collectively, there is no doubt that

they give rise to a likelihood of success in demonstrating a substantial risk of severe pain. That is

especially true because one type of complication exacerbates the other. In particular, Dr. Rich

states that the interaction between Mr. Pizzuto’s prescription medications and pentobarbital, as set

forth by Dr. Bergese, further increases the delay in the sedation caused by pentobarbital, and thus

further amplifies the pain associated with the heart attack. See Ex. 1 at 9.




6
  OxyContin is a trade name for the generic drug OxyCodone, and the dosage of one has the same
significance as the dosage of another. See, e.g., State v. Hamlin, No. 2002CA162, 2003 WL
245664, at *1 ((Ohio Ct. App. Feb. 3, 2003).

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                iii.     Mr. Pizzuto’s COPD

       Finally, Mr. Pizzuto suffers from Chronic Obstructive Pulmonary Disease (COPD). As set

forth in Dr. Michaela Almgren’s declaration, Mr. Pizzuto’s lung age is that of a ninety-two year

old. See Ex. 6 at 12–13. Dr. Almgren therefore opines that Mr. Pizzuto’s lungs are severely

damaged. See id. She explains that the lung problem increases the risk of pulmonary edema, a

phenomenon that is always a danger with barbiturate overdoses and which “makes a person feel

like they are suffocating and drowning.” Id. Dr. Almgren concludes that “[f]or a person with very

poor lung function,” like Mr. Pizzuto, this sensation will be even more severe.” Id.

               b) IDOC’s Use of Unreliable Drugs

       The risks posed to Mr. Pizzuto by pentobarbital generally are exacerbated by the

unreliability of IDOC’s drugs in particular. That unreliability stems from two factors: 1) IDOC’s

use of questionable sources in the past; and 2) issues with compounding.

                    i.   IDOC’s Unreliable Drug Sources in the Past

       In the two most recent executions in Idaho, the State went to unreliable sources for its

drugs. Unreliable drugs lead to even greater possibility of painful executions. That checkered

history raises concerns about how IDOC will approach Mr. Pizzuto’s execution, and therefore adds

an additional risk factor. See West v. Brewer, No. 2:11-cv-1409, 2011 WL 2912699, at *3 (D.

Ariz. July 20, 2011) (considering a correctional department’s past practices while ruling on an

execution claim).

       In March 2011—as IDOC was preparing to execute Paul Ezra Rhoades and Richard

Leavitt—Randy Blades, then the Warden of IMSI, started trying to obtain lethal injection

chemicals. To get the chemicals, Mr. Blades contacted a man named Chris Harris to inquire about

the possibility of purchasing the drugs from him. See Ex. 7. At the time, Mr. Harris was based in


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Kolkata, India. See Chris McDaniel, This is the Man in India Who is Selling States Illegally

Imported       Execution     Drugs,      Buzzfeed,      Oct.     20,     2015,      available     at

https://www.buzzfeednews.com/article/chrismcdaniel/this-is-the-man-in-india-who-is-selling-

states-illegally-imp [https://perma.cc/WZ46-85PN]. Mr. Harris was a salesman whose career

involved positions at a duty-free airport shop and call centers. See id. He had no training in the

practice of pharmacy or medicine. See id. In addition to his lack of qualifications, Mr. Harris’s

history suggests other reasons to be concerned about the integrity of his products. For instance, in

order to obtain drugs to send to Nebraska for executions, Mr. Harris falsely told Naari, a

pharmaceutical company, that the medications would be shipped to Africa so they could be used

for anesthetic purposes in the developing world. See id. Shipments of execution drugs sent by

Mr. Harris to Arizona and Texas were detained at the direction of the Food and Drug

Administration (“FDA”) because their importation was illegal. See Chris McDaniel, There’s A

Standoff Between States And The Feds Over Illegal Execution Drugs, June 26, 2016, available at

https://www.buzzfeednews.com/article/chrismcdaniel/the-standoff-between-states-and-the-feds-

over-illegal-drugs [https://perma.cc/4PSZ-MKXM].

         IDOC ultimately acquired the drugs for the Leavitt execution in 2012 from Kimela Burkes

at Union Avenue Compounding Pharmacy of Tacoma, Washington. See Ex. 8 at 1. To purchase

the drugs, IDOC officials went to a Walmart parking lot with more than $15,000 in cash. See Rone

Tempest, Here’s how a Salt Lake City pharmacy played a key role in the execution of an Idaho

serial      killer,   Salt     Lake      Tribune,      Apr.     18,     2021,      available      at

https://www.sltrib.com/news/2021/04/18/heres-how-salt-lake-city/          [https://perma.cc/4NSX-




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34XJ]. 7 Mr. Tewalt, who is now Director of IDOC, personally went on that trip with one other

official. See id. That Mr. Tewalt would purchase chemicals for an execution with cash from a

suitcase in a parking lot suggests that IDOC, which he currently controls, will not apply the level

of care and scrupulousness necessary to acquire reliable drugs now for Mr. Pizzuto’s execution.

       Moreover, records show that Union is not a trustworthy source. In 2015, regulators

inspected Union and found that it had twenty-seven outdated or expired items in its drug stock,

and that it failed to properly record in its system the chronic condition of a number of patients. See

Ex. 8 at 2–3. A follow-up inspection in 2016 discovered that Union had not fixed several of the

problems, despite being warned by officials, and that some of them had actually gotten worse. See

id. at 3–4. As a result of the regulators’ complaint, Ms. Burkes agreed to a series of sanctions,

including having her license placed on probation for a year. See id. at 4–6.

       The source of drugs for the Rhoades execution in 2011—University Pharmacy in Salt Lake

City, see Ex. 9 at 1—has an even more troubled regulatory past. In 2017, state regulators inspected

University and concluded that it was in violation of six different rules, including those having to

do with documentation, labeling, and expiration dates. See id. at 22–26. The regulators noted

nineteen different items, comprising twenty-seven vials total, where there were problems with the

documentation of the products’ expiration dates. See id. In 2014, state regulators inspected

University and found that 232 medications and compounding ingredients were expired or had

indeterminate expiration dates in the pharmacy’s regular stock. See id. at 21. Officials fined

University $1,050 and filed a cease-and-desist order. See id.



7
 To the extent any source cited here is deemed insufficient for preliminary-injunction purposes,
Mr. Pizzuto asserts that an evidentiary hearing is necessary, so that he has the power to subpoena
and examine the relevant witnesses.

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       In 2013, federal regulators with the FDA conducted several inspections of University and

filed a report finding a number of problems. See id. at 16–20. These inspections were done only

fourteen months after University provided drugs for the Rhoades execution. See id. In its report,

the FDA concluded that University committed a variety of violations, including: failing to sanitize

equipment enough to protect the integrity of the drugs; allowing splits, splatter, rust, and so forth

to remain in sensitive areas; having a technician taking out garbage in the middle of a sterilization

process and then sticking his hand back into the equipment without changing his gloves; and not

checking products properly to make sure they were stable and could last. See id.

       In 2009, state regulators cited University for dispensing sixty prescriptions to practitioners

around the country based on orders that did not include the patients’ names and addresses, in

violation of state law. See id. at 6–7. University admitted the misconduct and was issued a cease-

and-desist order. See id. at 7–9. In 2008, FDA officials observed nineteen separate problems with

University after a series of inspections, including irregularities with the pharmacy’s sterilization

practices, maintenance of its equipment, failure to properly document testing, inadequate measures

to make sure drugs were clean and stable before they were sent to patients, improper storage of

chemicals, flaws in the training regimen, and so forth. See id. at 10–15.

       This multitude of problems at University both pre- and post-date their supply of drugs to

IDOC for the Rhoades execution. IDOC was either aware of them and deliberately chose an

unreliable source, or it was unaware, and failed to perform the easy and basic vetting that would

have disclosed them. In either event, the fact that IDOC went to such compromised businesses to

acquire execution drugs raises questions about how responsibly it will carry out its duties now,

which in turn increases the risk of low-quality chemicals and a painful execution. See Ex. 6 at 8




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(Dr. Almgren opining that Union and University “both had extremely poor pharmacy inspection

records,” which “shows disregard for patient safety”).

                 ii.   Problems with Compounding

       The collective risks created by Mr. Pizzuto’s ailments is heightened even further by the

State’s presumed intent to use compounded drugs at his execution. Manufactured pentobarbital

(which is sold under the trade name Nembutal) is not available to correctional departments for

executions due to restrictions placed on the product by the company that makes it. See id. at 5; see

also Arthur v. Dunn, No. 2:11-cv-438, 2016 WL 1551475, at *5 n.4 (M.D. Ala. Apr. 15, 2016).

As a result, the State must be utilizing compounded pentobarbital, like several other jurisdictions.

See, e.g., United States v. Mitchell, 971 F.3d 993, 998 (9th Cir. 2020); Jordan v. Comm’r, Miss.

Dep’t of Corr., 947 F.3d 1322, 1325 (11th Cir.), cert. denied, 141 S. Ct. 251 (2020); Whitaker v.

Collier, 862 F.3d 490, 493–94 (5th Cir. 2017).

       Using the compounding process significantly increases the health risks described above.

The flaws in that process are outlined in Dr. Almgren’s declaration. See generally Ex. 6. Dr.

Almgren is a pharmacologist. See id. at 1. She has a doctorate of pharmacy and a master’s degree

in pharmaceutical chemistry, and serves as an assistant professor in the Department of Clinical

Pharmacy at the University of South Carolina College of Pharmacy. See id. In addition, Dr.

Almgren serves as a practicing pharmacist at an outsourcing pharmacy, and has experience with

pharmacy work in the hospital and the manufacturing settings. See id. at 1. Dr. Almgren details

how compounding pentobarbital is a complex endeavor, and how easy it is for the process to go

awry. See id. at 4–7. That raises questions about the reliability of the compounding process, and

the potency, sterility, and efficacy of the drugs. See id. Such questions in turn increase the risk of

an inhumane execution even more. See id. at 7. Most importantly, the risks associated with Mr.

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Pizzuto’s heart condition at the execution are exacerbated “by the problems with compounding,”

including “the issues with reliability, potency, sterility, efficacy, and so forth.” Id. at 12. This

adds yet another substantial risk factor to an already extensive list.

               c) Problems with the Protocol

       The risks outlined above are exacerbated by flaws in the execution protocol. Under the

protocol, the medical team is instrumental to carrying out the execution. Most critically, it is the

medical team that inserts the IVs, administers the lethal chemicals, and monitors the inmate’s

“level of consciousness.” Ex. 10 at 5. Members of the medical team are required by the protocol

to have only “three years of medical experience,” which they can acquire by serving in any number

of roles, including as nurses, paramedics, and phlebotomists. Ex. 11 at 7. But individuals with

those backgrounds do not have the requisite training to properly administer the chemicals in the

protocol while accurately evaluating the possibility that the inmate is conscious, sensate, or in

pain—a possibility that is extremely salient when the execution involves a man as severely ill as

Mr. Pizzuto is. See Ex. 5 at 11. Only a practicing anesthesiologist would be fully qualified to

perform that function during such an inherently risky execution. See id. For only anesthesiologists

understand the pharmacology of anesthetic drugs and their interactions, which determines the

sequence and timing of how chemicals should be injected. See id. Other types of medical

professionals, like nurses and paramedics, do not have that scientific background. See id. When

drugs are administered and the pacing is off, it can create a painful reaction. See id. Furthermore,

the individual may be experiencing pain and yet not expressing it in a way that is visible to the

naked eye. See id. For example, an inmate could receive a large dose of pentobarbital at an

execution and appear to go to sleep, yet still be going through a painful experience. See id.




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        In addition to their training, anesthesiologists rely on brain monitors, which are

sophisticated pieces of equipment that measure and convert brain signals so that doctors can

determine a patient’s level of consciousness and his depth of anesthesia. See id. The protocol

does not provide for the use of a brain consciousness monitor. See generally Exs. 10, 11. If an

individual without proper training were handling the drug administration at the execution as

directed under the protocol, and without a brain consciousness monitor, they would essentially be

“guessing” the stage of consciousness and pain sensation. See Ex. 5 at 12. Again, such guesswork

is unacceptable when it comes to executing a man with numerous and complicated medical issues.

        In these ways, the absence of a practicing anesthesiologist and a brain consciousness

monitor add yet more risk for pain at Mr. Pizzuto’s execution. That is, Mr. Pizzuto’s heart

condition and medication history, in conjunction with problems with compounding and IDOC’s

use of unreliable drugs, create a risk of a painful execution. Then, the fact that the proper personnel

and equipment will not be present at the execution make it more likely that the medical team will

fail to notice or properly address Mr. Pizzuto’s pain, increasing his suffering even more.

        2. The Firing Squad is a Feasible Alternative to Pentobarbital.

        Instead of risking an inhumane execution by using pentobarbital, the State could without

undue difficulty implement the firing squad, which would be far more reliable. Mr. Pizzuto will

first demonstrate that the firing squad is “feasible and readily implemented” and then that it poses

a substantially reduced risk of severe pain as compared to pentobarbital. See Bucklew, 139 S. Ct.

at 1125. 8


8
 Mr. Pizzuto is not “proposing” that he be executed by firing squad. He is merely identifying a
more humane alternative, as required by current caselaw. Mr. Pizzuto reserves the right to
challenge such caselaw as wrongly decided.


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    a) The Firing Squad is Feasible and Readily Implemented.

        There are multiple reasons why the firing squad must be regarded as available for Mr.

Pizzuto’s execution, some relating to nationwide circumstances and others concerning Idaho’s

situation in particular.

        As a general matter, for the feasibility of the firing squad, Mr. Pizzuto relies on a report

prepared by Dr. James S. Williams. Dr. Williams has extensive experience with firearms—he has

conducted numerous firearm trainings for law enforcement agencies and others, and has worked

as a doctor with police departments, including as a SWAT team member whose proficiency with

weapons had to match those of the other officers on the team. See Ex. 12 at 1–3. In Dr. Williams’

report, he explains at length why the firing squad is a feasible method of execution in Idaho. See

id. at 8–13. Mr. Pizzuto adopts those reasons, and adds the following comments of his own.

        Beginning with the national landscape, the firing squad is currently authorized by statute

in four states: Utah, Oklahoma, Mississippi, and South Carolina. See Utah Code Ann. § 77-18-

5.5; Okla. Stat. tit. 22 § 1014(D); Miss. Code Ann. § 99-19-51(4); Joseph Choi, South Carolina

governor signs law giving death row inmates choice between firing squad or electric chair, The

Hill, May 17, 2021, available at https://thehill.com/homenews/state-watch/553849-south-carolina-

governor-signs-law-giving-inmates-choice-between-firing. The U.S. Department of Justice has

recently taken steps to allow for the firing squad in federal executions as well. See 85 Fed. Reg.

75846, 75847-48 (Nov. 27, 2020). The most relevant jurisdiction to the availability analysis is in

Idaho’s neighboring state of Utah. Utah has carried out three firing-squad executions in the

modern era of the death penalty (i.e., since 1976). See Death Penalty Information Center,

Execution                  Database,            https://deathpenaltyinfo.org/executions/execution-

database?filters%5Bstate%5D=Utah (last visited Jan. 5, 2021). Most recently, Utah executed

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Ronnie Lee Gardner by firing squad in 2010. See Guardian News & Media LLC v. Ryan, 225 F.

Supp. 3d 859, 875 n.8 (D. Ariz. 2016). Moreover, Utah has in effect an extremely detailed protocol

for firing-squad executions. See Ex. 13. The U.S. Army has a similar set of guidelines for using

the firing squad. See Ex. 14; see also Baze v. Rees, 553 U.S. 35, 102 (2008) (Thomas, J.,

concurring) (characterizing the firing squad as “well established in military practice”). There is

nothing preventing Idaho from following these other authorities and taking their firing-squad

manuals as, at a minimum, a jumping-off point for crafting its own.

       Nor is there anything about the current circumstances in Idaho that would prevent the

institution of the firing squad. To the contrary, the state is well situated to adopt the firing squad.

In terms of access to personnel, firing squads involve only a handful of people. See, e.g., Ex. 13

at 53 (indicating that Utah’s protocol calls for five officers). It would be an easy thing to find five

individuals with the interest and training to participate in a firing squad in Idaho. IDOC itself

employs more than 2,000 people.           See Idaho Department of Correction, Career Facts,

https://www.idoc.idaho.gov/content/careers/career_facts_employment_faq

[https://perma.cc/DR6G-M5PF] (last visited Jan. 5, 2021). There is a firearms component of the

standard program for all new IDOC correctional officers as part of the Peace Officers Standards

and Training (“POST”) Academy. See Idaho Department of Correction, Correctional Officer

Training,

https://www.idoc.idaho.gov/content/careers/current_openings/steps_to_becoming_a_correctional

_officer/correctional_officer_training [https://perma.cc/W5N2-LWNS]; Ex. 15 at 2. All IDOC

facilities have a firearms instructor. See Ex. 15 at 7. One course available to IDOC officers is in

marksmanship with the use of a rifle, which assesses the participants’ accuracy from various

distances extending up to 100 yards. See id. at App. J. A shooting range is located at the South

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Boise Correctional Complex, which is where Idaho carries out executions. See Idaho Department

of         Correction,          Staff         Photos:           D-4     at       the           Range,

https://www.idoc.idaho.gov/content/story/staff_photos_d_4_at_the_range

[https://perma.cc/6KR7-CBLU]. More generally, Idaho has more gun enthusiasts than most of the

country, ranking sixth out of fifty-three jurisdictions with more than 39,000 firearms registered to

less than two million people. See CBS News, https://www.cbsnews.com/pictures/most-heavily-

armed-states-in-america/47/ [https://perma.cc/8SDU-QFDL]. Given IDOC’s size and the nature

of its workforce, as well as the overall population from which its employees are drawn, it would

take little effort to recruit five people for a firing squad.

        If for some reason IDOC was unable to pull a firing-squad team from its own ranks, it

could do so with even less difficulty while using personnel from outside the Department. For

example, Mountain Home Air Force Base is less than fifty miles from the Idaho Maximum

Security Institution, where death row and the current death chamber are located. The Base

employs     more     than    4,800      people.      See    Mountain   Home    Air     Force    Base,

https://www.mountainhome.af.mil/About/ [https://perma.cc/UP6J-ANL5] (last visited Jan. 5,

2021). Basic military training in the Air Force touches repeatedly on firearms handling and use.

See U.S. Air Force, Basic Military Training Overview at weeks two, three, five and seven,

https://www.airforce.com/education/military-training/bmt [https://perma.cc/U69V-TDYF].

          If IDOC wished, it could assemble a firing squad in part or in full from Air Force members

without difficulty. Or it could do so while tapping Idaho’s law enforcement community, many of

whom go through the same POST firearms training referred to earlier.                    See IDAPA

11.11.01.051.01 (requiring every peace officer in Idaho to obtain POST certification); Idaho




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Official Website of Peace Officer Standards and Training, https://post.idaho.gov/tag/firearms/

[https://perma.cc/CUF9-DJJC] (listing the firearms courses offered by POST).

       It would be equally simple for IDOC to acquire the equipment necessary to conduct firing-

squad executions. IDOC rules allow for the use of several types of firearms and establish a process

for the purchase of weapons and ammunition. See Ex. 15 at 3–4. Every IDOC facility has an

armory to store such items and other firearm-related material. See id. at 5. In terms of weaponry,

an execution calls for little more than rifles and ammunition. See, e.g., Ex. 14 at 3; Ex. 13 at 61.

If IDOC does not have them on-hand, it can purchase them in short order from any number of

retailers. As for non-firearm materials, they are few and straightforward. For instance, the Army

manual lists a post with rings to restrain the condemned, a black hood to cover his head, and a

white target to affix to his chest. See Ex. 14 at 3. These items are all available to buy or make

with only minimal effort.

       In short, the firing squad is permitted by law in multiple jurisdictions, has actually been

used within the last decade by a neighboring state, and it necessitates personnel and equipment

that IDOC could marshal with no trouble. The method is certainly available to Idaho.

       That availability is likewise underscored by the history of the firing squad in Idaho itself.

Between 1982 and 2009, the firing squad was authorized by statute as a method of execution in

the alternative to lethal injection. See Idaho Code § 19-2716 (1982) [Ex. 16]; Act of April 1, 2009,

ch. 81, Idaho Sess. Laws 228 [Ex. 17]. In 2009, the firing squad was removed from the statute,

making lethal injection the only option. See Act of April 1, 2009, ch. 81, Idaho Sess. Laws 228

[Ex. 17]. The legislature’s statement of purpose noted that the elimination of the firing squad was

“deemed appropriate in light of” Baze, “in which the Court concluded that a ‘humane lethal

injection protocol’ does not constitute cruel and unusual punishment.” Ex. 17 at 4. “There is no

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similar Supreme Court authority,” the statement of purpose continued, “addressing whether the

firing squad as a method of execution, would constitute cruel and unusual punishment in violation

of the Eighth Amendment.” Id. Such reasoning was flatly mistaken. In fact, the U.S. Supreme

Court expressly held that the firing squad is not cruel and unusual in Wilkerson v. Utah, 99 U.S.

130, 134–35 (1878). Legislation founded on an obvious misunderstanding of well-established law

is not motivated by “a legitimate penological reason.” Bucklew, 139 S. Ct. at 1125.

       The statement of purpose also suggested that because “Idaho [was] one of only two states

that have the firing squad as a method of execution,” its “rarity” “could form the basis of an Eighth

Amendment claim.” Ex. 17 at 4. But the Supreme Court has never invalidated a method of

execution due to its rarity. To the contrary, the Court’s jurisprudence in this area expressly

approves of the fact that states have historically “experimented with technological innovations

aimed at making [executions] less painful.” Bucklew, 139 S. Ct. at 1124. Indeed, the Court

rejected an Eighth Amendment challenge to the electric chair, see In re Kemmler, 136 U.S. 436

(1890), at a time when it was employed by a single jurisdiction, see Glossip v. Gross, 576 U.S.

863, 867–88 (2015). Like its misunderstanding of Wilkerson, the legislature’s apparent confusion

over how Eighth Amendment challenges to executions are resolved is not “a legitimate penological

reason” for retreating from the firing squad. Bucklew, 139 S. Ct. at 1124.

       IDOC’s exploration of the firing squad in recent years further confirms that it is an

available option in Idaho. In 2014, officials from IDOC toured Utah’s firing-squad facility to

examine the method “as a possibility in the near future.” Ex. 18 at 2. Having already researched

the approach taken by a neighboring state, IDOC is particularly well-equipped to follow through

and implement the firing squad in Idaho. To the extent Mr. Pizzuto is required to articulate a more




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detailed procedure for the firing squad (which he disputes), he refers the Court to Dr. Williams’

report. See Ex. 12 at 10–12.

        Finally, the circumstances of Mr. Pizzuto’s situation in particular highlight the feasibility

of using the firing squad on him. Most significantly, as described earlier, the firing squad was a

statutorily authorized method at the time when Mr. Pizzuto was sentenced to death in 1986. See

supra at 17 (explaining that the firing squad was codified in Idaho’s execution statute between

1982 and 2009); see also Pizzuto v. Yordy, 947 F.3d 510, 515 (9th Cir. 2019) (per curiam)

(observing that Mr. Pizzuto was sentenced to death in 1986). Additionally, Mr. Pizzuto informed

IDOC in 2000 that he preferred “the firing squad when it is his time.” Ex. 19.

        In overview, to use the firing squad on Mr. Pizzuto would be to employ a method that was

in effect in Idaho for many years, including when he was sentenced to death; a method that he

himself requested from IDOC more than two decades ago; a method that Idaho abandoned without

a legitimate penological reason; and a method that is authorized by statute in several states,

including Utah, where it was used in recent memory. Under such circumstances, the firing squad

is “a feasible and readily implemented alternative method of execution.” Bucklew, 139 S. Ct. at

1125.

           b) The Firing Squad Is Much Less Painful Than Pentobarbital

        Aside from being feasible and available, the firing squad creates a greatly reduced risk of

severe pain for Mr. Pizzuto as compared to pentobarbital.

        Multiple Justices of the Supreme Court have recognized the virtues of the firing squad in

terms of its humaneness and efficacy. See Arthur v. Dunn, 137 S. Ct. 725, 733–34 (2017)

(Sotomayor, J., dissenting from the denial of certiorari) (discussing how the firing squad likely

causes nearly instantaneous death with little pain and emphasizing the ease of its use); see also

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Bucklew, 139 S. Ct. 1136 (Kavanaugh, J., concurring) (referring approvingly to Justice

Sotomayor’s dissent in Arthur and describing how it “explained that the firing squad is an

alternative method of execution that generally causes an immediate and certain death, with close

to zero risk of a botched execution”); Glossip, 576 U.S. at 976–77 (Sotomayor, J., dissenting)

(similar).   Indeed, in Glossip, the majority opinion seemed to refer with agreement to the

description in the dissent (which was joined by four Justices) of the firing squad as “relatively

quick and painless,” 576 U.S. at 880, which could be read to signify that all nine members of the

Court shared that view.

        These persuasive and well-supported statements are in line with well-founded commentary

from the academy. See Deborah W. Denno, The Firing Squad as “A Known and Available

Alternative Method of Execution” Post-Glossip, 49 U. MICH. J.L. REFORM 749, 785–87 (2016)

(gathering support for the proposition that the firing squad is a comparatively humane and reliable

method of execution).

        The scientific evidence is in accord. For that proposition, Mr. Pizzuto relies on Dr.

Williams’ report. Dr. Williams is an emergency physician with many years of experience who has

treated numerous trauma patients and who also was himself a gunshot victim. See Ex. 12 at 1–3.

As Dr. Williams explains with detailed reasoning based on medical knowledge and experience,

“the firing squad causes death with minimal pain.” Id. at 5.

        History confirms this. Consider the execution of Nazi Major General Anton Dostler, who

was killed in 1945 by a U.S. Army firing squad. See W. Hays Parks VI, Special Forces’ Wear of

Non-Standard Uniforms, 80 INT’L L. STUD. 69, 76 n.20 (2006) (describing the Dostler case).

Video footage reflects that General Dostler showed no signs of pain or suffering after he was shot,




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and instead became totally still moments later. See Ex. 20. 9 This is a far cry from the drawn out

and visibly problematic executions of Messrs. Powell and Blankenship detailed earlier. See supra

at 4. The comparison aptly underscores how much riskier a pentobarbital execution of Mr. Pizzuto

is compared to the firing squad. Indeed, while Mr. Pizzuto’s serious and complicated health

situation creates several grave risks for a pentobarbital execution, there is nothing about his

illnesses that calls into question the efficacy of the firing squad.

          In sum, Mr. Pizzuto can show a likelihood of succeeding on the merits of his claim that a

pentobarbital execution would violate his Eighth Amendment rights.

    II.   Irreparable Harm

          The next factor in evaluating the need for a preliminary injunction, irreparable harm, is

abundantly present, since Mr. Pizzuto will be put to death in the absence of judicial intervention.

See Towery v. Brewer, 672 F.3d 650, 661 (9th Cir. 2012) (noting that the irreparable-harm factor

is always present when the plaintiff is challenging his execution); accord Battaglia v. Stephens,

824 F.3d 470, 475 (5th Cir. 2016) (“[I]n a capital case, the possibility of irreparable injury weighs

heavily in the movant’s favor.”); Beaver v. Netherland, 101 F.3d 977, 979 (4th Cir. 1996) (“In

cases involving the death penalty when an execution date has been set, as here, it is a certainty that

irreparable harm will result if the court of appeals’ decision is not stayed.”). Simply put, Mr.

Pizzuto will have no recourse for any constitutional violations after he is killed by the State, and

so there is irreparable harm.




9
    Discs containing Exhibit 20 are being provided to the Court and opposing counsel.

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III.   The Balance of Equities and the Public Interest Favor an Injunction.

       The last criteria for a preliminary injunction considers the balance of equities and the public

interest. First, the balance of equities tips heavily in favor of a stay because it is the State itself

that has made a stay necessary. It was almost two full years ago that Mr. Pizzuto requested basic

information from Defendants about how their executions would be carried out, including the most

rudimentary information of all—what drug or drugs would be used. See Dkt. 29-1. Rather than

providing that information, Defendants chose to act in accordance with their track record and

stonewall, forcing extensive litigation over their secrecy.

       During that litigation, Defendants carried out a deliberate strategy to create both delay and

a need for emergency litigation, all in the interest of their own desire to carry out an execution with

as little judicial oversight as possible. As relevant here, Defendants argued that all of Plaintiffs’

claims were unripe because Messrs. Pizzuto and Creech both had pending challenges to their

convictions and/or sentences. See Dkt. 21-1 at 6. In response, Plaintiffs contested Defendants’

position on ripeness, partly because it would unnecessarily force execution litigation into a highly

compressed, last-minute time frame. See Dkt. 22 at 4. This Court sided with Defendants,

concluding that the claims were brought too early, as the existence of the ongoing post-conviction

cases made a possible execution “speculative.” See Dkt. 34 at 8–9. Having convinced the Court

that post-conviction litigation made an execution speculative, the Attorney General’s Office turned

around and proceeded to request and obtain a thirty-day death warrant before that very same post-

conviction litigation concluded, i.e., before Mr. Pizzuto had a chance to seek review at the U.S.

Supreme Court. The Attorney General’s Office has thus carefully and effectively orchestrated a

situation in which emergency litigation regarding grave and important matters was delayed until

the last possible minute. Given the Attorney General’s success in that regard, it can hardly

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complain about the need for a preliminary injunction now, to compensate for the needless urgency

it has created.

        Moreover, it would be especially inappropriate to allow the Attorney General’s gambit to

work when we now know from the Ninth Circuit’s opinion that the State was wrong all along about

its fundamental premise. That is, as the Ninth Circuit explained, the pendency of post-conviction

litigation does not in fact render an execution claim premature, as such a “bright-line rule effect

effectively compels a result that [courts] have repeatedly and emphatically directed plaintiffs to

avoid,” i.e., “eleventh-hour challenges to their executions.” Dkt. 47 at 9. In other words, the rule

the State advocated in this case is the rule that “compelled” the current last-minute litigation. To

be sure, it was the State’s prerogative to strategically seek to delay this case. 10 Still, having made

that tactical decision, the State should not be heard to complain about the resulting need to award

Mr. Pizzuto equitable—and temporary—relief. See Masayesva v. Zah, 65 F.3d 1445, 1457 (9th

Cir. 1995) (“He who comes into equity must come with clean hands.”); see also Sierra Club v.

Trump, 963 F.3d 874, 896 (9th Cir.), cert. granted, 141 S. Ct. 618 (2020) (applying the doctrine

of unclean hands to the balance-of-the-equities prong of the preliminary-injunction test). If the

State suffers from any injury, it is a self-inflicted one, and that is no basis for it to object now.

        Furthermore, the State’s interest in finality is substantially diminished by the fact that it is

responsible for a significant amount of the delay that has occurred in carrying out Mr. Pizzuto’s


10
   It is obvious that the State was acting strategically and not because it felt obligated to
challenge ripeness based on the law, because before the most recent previous execution IDOC
attacked the complaint as being late in what were essentially the same circumstances. See
Creech v. Reinke, D. Idaho, No. 12-173, Dkt. 22 at 22 (criticizing an action as “last minute”
when it was brought, as here, while post-conviction litigation was pending and before the
issuance of the death warrant). Further demonstrating the tactical nature of the State’s approach,
it accused Mr. Pizzuto of engaging in “last minute litigation” while simultaneously defending
this Court’s conclusion that his claims were premature. Dkt. 38 at 3.

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death sentence. The reason that Mr. Pizzuto has not yet been executed is that he has had challenges

pending in court to his convictions and death sentence for the last thirty-six years, including his

initial state post-conviction proceeding, his first federal habeas action, and—later—timely attacks

based on the ground that he is intellectually disabled, which were lodged in both state and federal

court. See State v. Pizzuto, 810 P.2d 680 (Idaho 1991) (direct appeal and initial state post-

conviction proceeding); Pizzuto v. Arave, 280 F.3d 949 (9th Cir. 2002) (first federal habeas action);

Pizzuto v. State, 202 P.3d 642 (Idaho 2007) (state case regarding intellectual disability); Pizzuto v.

Yordy, 947 F.3d 510 (9th Cir. 2019) (per curiam), cert. denied, 141 S. Ct. 661 (2020) (federal case

regarding intellectual disability).

        Over the course of that lengthy history of litigation, the State has taken numerous

extensions. While Mr. Pizzuto was litigating his intellectual-disability claim in federal court

(which is the underlying claim presented here), the State sought and obtained at least twenty-six

separate enlargements of time, totaling 405 days. See Exs. 21–23. And that does not even account

for the deadlines the State pushed in the various state cases or the first round of federal habeas

review. Counsel for Mr. Pizzuto likewise took many extensions. More often than not, the

extensions by both parties were acquiesced in by the other. With each due date they postponed,

the parties delayed the moment when Mr. Pizzuto’s death sentence could be carried out. They

presumably did so because they agreed it was appropriate for the issues to be resolved on the basis

of the fullest, most thorough presentations. The same calculus applies now. Mr. Pizzuto’s interest

in receiving careful consideration of his execution claim outweighs any interest in hastening the

case to its end based on the artificially compressed timeline created by the State’s choice to obtain

a death warrant. Just as the State did in the collateral cases challenging Mr. Pizzuto’s convictions

and death sentence, all litigants require time to research and craft pleadings to raise the arguments

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they are entitled to raise in court. The State received such time in ample measure in the prior

proceedings, and Mr. Pizzuto should be afforded his modest allotment here so that he can obtain

meaningful review of his claim, as any party is entitled to do. See Zagorski v. Haslam, No. 3:18-

cv-01035, 2018 WL 4931939, at *4 (M.D. Tenn. Oct. 11, 2018) (granting a motion to preliminarily

enjoin an execution because the issues raised in the case were “simply not amenable to

development and ruling before the plaintiff’s scheduled execution” and the delay was necessary

“in order to allow for a full and fair litigation” of those issues).

IV.     An Injunction Cannot be Denied Without an Evidentiary Hearing.

        Mr. Pizzuto submits that the argument above is adequate to justify the entry of a

preliminary injunction prohibiting his execution until the claim is completely resolved on its

merits. 11 Insofar as the Court disagrees, it would still be inappropriate to deny the injunction

without holding an evidentiary hearing. Such a proceeding is mandatory “if essential facts are in

dispute.” Charlton v. Estate of Charlton, 841 F.2d 988, 989 (9th Cir. 1988). Mr. Pizzuto has

presented substantial documentary evidence to meet his burden on all of the preliminary-injunction

factors. Therefore, the only reason to refuse an injunction would be if the State contradicts his

presentation and the Court agrees with its account. That would represent a dispute over the facts,

which would call for an evidentiary hearing.

        When a preliminary injunction is denied in an execution case, it means that the plaintiff’s

claims will forever be mooted by his death. Before the Court sanctions such an “irremediable and

unfathomable” act, Ford v. Wainwright, 477 U.S. 399, 411 (1986), it should allow Mr. Pizzuto to

at least make his case at a live hearing through witnesses. That is the only way for the Court to


11
  In a separate motion, Mr. Pizzuto is seeking an administrative stay of execution until the
request for a preliminary injunction is resolved.

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acquire the confidence necessary to authorize the execution without fearing the possibility of a

torturous death. It is perhaps for the same reasons that evidentiary hearings are commonly held

by district courts around the country on motions for preliminary injunctions in method-of-

execution cases. See, e.g., Glossip, 576 U.S. at 874 (recounting how a preliminary injunction

hearing took place in the district court in an execution case); Jones v. Kelley, 854 F.3d 1009, 1012

(8th Cir. 2017) (same); Chavez v. Fla. SP Warden, 742 F.3d 1267, 1268 (11th Cir. 2014) (same);

Hamilton v. Jones, 472 F.3d 814, 815 (10th Cir. 2007) (per curiam) (same). The same level of

scrutiny is warranted here.

 V.      Conclusion

         For the reasons set forth above, undersigned counsel respectfully ask the Court to enjoin

Mr. Pizzuto’s execution until it has fully adjudicated his claim for relief on the merits and to hold

an evidentiary hearing on the instant request if it will not be granted on the basis of the papers

alone.

         DATED this 18th day of May 2021.

                                                      /s/ Jonah J. Horwitz
                                                      Jonah J. Horwitz
                                                      Christopher M. Sanchez
                                                      Miles Pope
                                                      Federal Defender Services of Idaho

                                                      /s/ Stanley J. Panikowski
                                                      Stanley J. Panikowski
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                                                      Amanda Laufer Camelotto
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                                                      Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE
I hereby certify that on this 18th day of May 2021, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system, which is designed to send a Notice of
Electronic Filing to persons including the following:

 Mark Kubinski                                    Oscar Klaas
 mkubinsk@idoc.idaho.gov                          oklaas@idoc.idaho.gov

                                                      /s/ Julie Hill
                                                     Julie Hill




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